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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 ALEXANDRE ANSARI,
                                                 Case No. 2:20-cv-10719
                     Plaintiff,
                                                 HONORABLE STEPHEN J. MURPHY, III
 v.

 MOISES JIMENEZ and CITY OF
 DETROIT,

                     Defendants.
                                         /

                                  OMNIBUS ORDER

      Defendant City of Detroit moved for summary judgment on Plaintiff Alexandre

Ansari’s Monell claims. ECF 37, PgID 315–17. The City argued that Plaintiff’s claims

are barred by Michigan’s Wrongful Imprisonment Compensation Act (“WICA”). Id. at

316. Plaintiff later moved for the Court to certify a question to the Michigan Supreme

Court. ECF 45. Plaintiff explained that the Michigan Supreme Court should decide

whether Mich. Comp. Laws § 691.1755(8) bars “a suit against a municipality in

federal court based on the same subject matter if a [p]laintiff accepts judgment under

the [WICA].” Id. at 483. Recently, Plaintiff moved under Federal Rule of Civil

Procedure 41(a)(2) to dismiss the claims against the City “with prejudice and without

costs to either party.” ECF 50, PgID 653, 660.1 In a somewhat unusual response, the

City objected to the requested voluntary dismissal in its favor. ECF 55. The City




1 Based on the parties’ briefing, the Court will resolve the three motions on the briefs

without a hearing. See Fed R. Civ. P. 78(b); E.D. Mich. L.R. 7.1(f)(2).
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instead wants the Court to rule on the summary judgment certification motions. Id.

at 836. For the following reasons, the Court will dismiss the City of Detroit with

prejudice and without costs to either party.

      Under Rule 41(a)(2), the Court may dismiss a party “at the plaintiff’s

request . . . on terms that the [C]ourt considers proper.” Although the Court “has

discretion to grant a dismissal under Rule 41(a)(2),” the Rule protects defendants

against “unfair treatment.” Est. of Chubb v. Daimler Trucks N. Am. LLC, 850 F. App’x

358, 361 (6th Cir. 2021) (citing Grover by Grover v. Eli Lilly & Co., 33 F.3d 716, 718

(6th Cir. 1994)).

      Courts consider four factors to determine whether a voluntary dismissal is

proper. First, “the defendant’s effort and expense of preparation for trial.” Grover, 33

F.3d at 718. Second, evidence of “excessive delay and lack of diligence on the part of

the plaintiff in prosecuting the action.” Id. Third, the “explanation for the need to

take a dismissal.” Id. And fourth, “whether a motion for summary judgment has been

filed by the defendant.” Id. Courts generally abuse their discretion under Rule

41(a)(2) when “the defendant would suffer plain legal prejudice as a result of a

dismissal without prejudice, as opposed to facing the mere prospect of a second

lawsuit.” Id. (quotation marks and citations omitted).

      The first and last factors narrowly favor the City of Detroit because the case

has gone through discovery and the City has recently moved for summary judgment.

ECF 24, PgID 111; ECF 37. But the second and third factors heavily favor Plaintiff.

Plaintiff has been diligent and has not delayed the prosecution of the case. In



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contrast, both the City of Detroit and Defendant Moises Jimenez have recently moved

for the Court to reopen discovery after the discovery deadline already passed. ECF

42; 44. And dismissing the case now will bring closure to litigation for both sides that

could otherwise last years. If the Court were to certify Plaintiff’s question to the

Michigan Supreme Court, the case would continue indefinitely without a resolution

for either party and both parties would both incur significant costs on the certification

process. Thus, the need for dismissal is strong—for both parties. Moreover, judicial

resources would be wasted in the process since there is no strong reason to proceed:

Plaintiff is willing to dismiss the claim. Put simply, the totality of factors favors

dismissing the City with prejudice and without costs because Plaintiff will be barred

from suing the City again for the wrongful conviction.

      To that end, the City does not appear to disagree that a dismissal with

prejudice would be appropriate; after all, the City moved for summary judgment and

sought dismissal with prejudice. ECF 37. The City’s main issue is with Plaintiff’s

counsel who represents other wrongfully convicted plaintiffs in different cases. ECF

55, PgID 835–36. The City claimed that without ruling on the motions for certification

and summary judgment, Plaintiff’s counsel will “continue to sue the City on future

cases wherein the plaintiff has accepted WICA compensation.” Id. at 835.

      But there are two problematic issues with the City’s reasoning. One, no Rule

41(a)(2) factor requires the Court to examine whether counsel for one party may file

future lawsuits with different plaintiffs. To the contrary, the Rule specifically

requires the Court to disregard whether a defendant may “fac[e] the mere prospect of



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a second lawsuit.” Grover, 33 F.3d at 718 (citations omitted). Two, even if the Court

were to grant the City’s summary judgment motion, nothing would prevent a

different plaintiff from suing the City in federal court. To be sure, any ruling from the

Court about how to interpret WICA is not binding on other federal courts. See Ohio

ex rel. Skaggs v. Brunner, 549 F.3d 468, 472 (6th Cir. 2008) (per curiam) (“No federal

court has the final say on what [state] law means.”).

      Still, the City appeared to believe that Plaintiff’s reading of WICA, and in turn

his Monell claim against the City, are so frivolous that the City has a right to costs.

ECF 55, PgID 824, 836. But Plaintiff’s reading appears plausible from a textualist

standpoint, and the claim is therefore legitimate—not frivolous. See People v. Peltola,

489 Mich. 174, 181 (2011) (the Michigan Supreme Court interprets words based on

“their ordinary meaning and their context within the statute”). WICA provides:

      The acceptance by the plaintiff of an award under this act, or of a
      compromise or settlement of the claim, must be in writing and, unless it
      is procured by fraud, is final and conclusive on the plaintiff, constitutes
      a complete release of all claims against this state, and is a complete bar
      to any action in state court by the plaintiff against this state based on
      the same subject matter.

Mich. Comp. Laws § 691.1755(8) (emphasis added). Nothing in Section 1755(8)’s plain

text prevents Plaintiff from suing the City in federal court for claims based on his

wrongful conviction. See id. The Michigan Legislature could have simply written

Section 1755(8) to bar claims “in state and federal court” or “in any court,” but it did

not. See id. In short, Plaintiff’s reading of Section 1755(8) is not frivolous, and thus

the City of Detroit would have no right to costs.




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      Because the present dispute against the City of Detroit is not frivolous, the

Court will dismiss the City with prejudice and without costs to either party. Dismissal

with prejudice is the relief that Plaintiff requested and will prevent the City from

suffering any legal prejudice because Plaintiff’s claims will be barred. The win-win

result is not only proper but also treats the City fairly. As a result, the Court will

grant the motion, ECF 50, and deny as moot the motion for summary judgment, ECF

37, and the motion for certification, ECF 45.

      WHEREFORE, it is hereby ORDERED that the motion to enforce the

settlement agreement [50] is GRANTED. The City of Detroit is DISMISSED WITH

PREJUDICE and WITHOUT COSTS to either party.

      IT IS FURTHER ORDERED that the summary judgment motion [37] and

motion for certification [45] are DENIED as MOOT.

      SO ORDERED.

                                        s/ Stephen J. Murphy, III
                                        STEPHEN J. MURPHY, III
                                        United States District Judge
Dated: April 4, 2022

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 4, 2022, by electronic and/or ordinary mail.

                                        s/ David P. Parker
                                        Case Manager




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